      Case 2:06-cr-00343-JAM Document 185 Filed 02/15/08 Page 1 of 2


 1   DWIGHT M. SAMUEL (CA SB# 054486)
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 5   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA         )                  CASE NO.: CR.S 06-00343 DLJ
                                      )
13        Plaintiff,                  )
14                                    )
          v.                          )                  REQUEST FOR ORDER AND ORDER
15                                    )                  EXONERATING BOND
     PRASERT SOMSINSAWASDI,           )
16                                    )
          Defendant.                  )
17
     ________________________________)
18
19          On or about September 18, 2006, an appearance bond for the amount of
20   $170,000.00, secured by a deed against the real property of Khamphahn Keonorasack, Lot
21
     2 of tract no 2641, Weston Ranch Unit No. 14 as per map filed May 14, 1997 in book 33
22
     of Maps and Plat, Page 11 San Joaquin County Records. APN: 166-160-02 was posted on
23
     behalf of Prasert Somsinsawasdi, No. Cr.S-06-00343. Mr. Somsinsawasdi was arrested
24
25   in this district based upon an indictment filed in this district.

26          On November 13, 2007, Mr. Somsinsawasdi was sentenced in this case and

27   subsequently his self surrender date was set for February 8, 2008. Defendant has self
28
     surrendered and a copy of the judgment is attached as exhibit to this request.
      Case 2:06-cr-00343-JAM Document 185 Filed 02/15/08 Page 2 of 2


 1         It is hereby requested that the $170,000.00 secured appearance bonds be
 2   exonerated in the above-captioned case and that the Clerk of the District Court be directed
 3
     to reconvey back to the Trustors the deed of trust received by the Clerk on or about
 4
     September 18, 2007.
 5
 6
 7   Dated: February 9, 2008                         Respectfully submitted,

 8
 9                                                   /S/Dwight M. Samuel
10                                                   Dwight M. Samuel
                                                     Attorney for Defendant
11                                                   Prasert Somsinsawasdi

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15
           IT IS HEREBY ORDERED that the bail bond in the amount of $170,000.00 posted
16
     by Khamphahn Keonorasack and secured by a Deed of Trust for his property is hereby
17
18   exonerated.

19   Dated: February 14, 2008
20
21
                                                     _______________________________
22                                                   D. Lowell Jensen
                                                     U.S. District Court Judge
23
24
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